Case 1:09-cv-00597-LMB-TCB Document 218 Filed 11/17/10 Page 1 of 1 PageID# 2865

                                                                        DLA Piper LLP (US)
                                                                        The Marbury Building
                                                                        6225 Smith Avenue
                                                                        Baltimore, Maryland 21209-3600
                                                                        www.dlapiper.com

                                                                        Michelle J. Dickinson
                                                                        michelle.dickinson@dlapiper.com
                                                                        T 410.580.4137
                                                                        F 410.580.3137

 November 17, 2010
 BY ELECTRONIC CASE FILING

 Honorable Leonie M. Brinkema
 United States Judge
 United States District Court for the Eastern District of Virginia
 Albert V. Bryan U.S. Courthouse
 401 Courthouse Square
 Alexandria, VA 22314

 Re:     Intersections Inc. and Net Enforcers, Inc. v. Joseph C. Loomis and Jenni M. Loomis,
         Case No. 1:09cv597 (LMB/TCB)

 Dear Judge Brinkema:

 In its November 3, 2010 Order (“Order”) [Docket No. 217] denying Plaintiffs’ Motion to Enforce the
 Settlement Agreement, the Court required the parties to inform it by today’s date as to whether the United
 States Bankruptcy Court for the District of Arizona (“Bankruptcy Court”) had lifted the stay so as to allow
 for the trial of this action. The parties wish to provide the following joint status update:

 On November 8, 2010, Plaintiffs filed a Motion to Lift Stay with the Bankruptcy Court to permit a trial in the
 U.S. District Court for the Eastern District of Virginia. Joe Loomis’ response to the Motion to Lift Stay is
 due November 23, 2010. The parties will inform this Court once the Bankruptcy Court rules on the
 Plaintiffs’ Motion to Lift Stay.


 Respectfully,



 Michelle J. Dickinson


 cc:     The Hon. Theresa C. Buchanan
         Mr. Timothy J. McEvoy, Esq.
         Mr. Eugene W. Policastri, Esq.


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